Case 2:05-cr-20197-.]DB Document 12 Filed 07/19/05 Page 1 of 2 Page|D 11
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FILED BY .,
UNITED STATES DIS'I`RICT COURT

WESTERN DISTRICT OF TENNESSEE 2035 JUL \9 PH 12: l3
Western Division

   

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-vs- Case No. 2:05cr20197-001B
AUSTIN GARRETT GUYER

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUS'I`ICE ACT

This Court has determined that the above~named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Coult makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

' The Federal Public Defender is appointed as counsel for the Defendant. The defendant is
to pay $lOO per month into the registry of the court to offset the cost of his counsel.

TYPE OF APPOINTMENT
~ All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this 14th day of July, 2005.

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S. THOMAS ANDERSON
UNITED S'I`ATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Offlce

Assistant Federal Public Defender
lntake

AUSTIN GARRETT GUYER

This docl.rnent entered on the docket sheet ln compliance
with Rtlle 55 and/or 32fb) FHCrP on ____ " 0

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l2 in
case 2:05-CR-20197 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Valeria Rae Oliver

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FEDERAL PUBLIC DEFENDER
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Honorable J. Breen
US DISTRICT COURT

